 Case 19-22313-SLM             Doc 10 Filed 09/14/19 Entered 09/15/19 00:29:49                       Desc Imaged
                                    Certificate of Notice Page 1 of 2
Form finmgtc

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 19−22313−SLM
                                         Chapter: 7
                                         Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Susan Kicska
   65 Bay Street
   Apt. 4204
   Jersey City, NJ 07302
Social Security No.:
   xxx−xx−5695
Employer's Tax I.D. No.:




               NOTICE OF FAILURE TO FILE DEBTOR'S CERTIFICATION OF COMPLETION
                OF INSTRUCTIONAL COURSE CONCERNING FINANCIAL MANAGEMENT



To receive a discharge each individual debtor must participate in a personal financial management course. The
course provider may file a Certificate of Debtor Education, or the debtor must file a Debtor's Certification of
Completion of Instructional Course Concerning Financial Management (Official Form B23) proving compliance
with the financial management course requirement for discharge (each debtor in a joint case must file a separate
Certification). The Certification must be filed by:

       Chapter 7: [60 days from the first date set for your Meeting of Creditors.]

To date the court has not received the above document from the debtor(s), nor has it received a Certificate of Debtor
Education from a course provider. If the court does not receive the document(s) within the time frame set forth
above, your case will be closed without entry of the discharge. If the case is closed without entry of the discharge
you must file a Motion To Reopen to allow for the filing of the document(s) and pay the applicable filing fee.




Dated: September 12, 2019
JAN: admi

                                                                          Jeanne Naughton
                                                                          Clerk
        Case 19-22313-SLM              Doc 10 Filed 09/14/19 Entered 09/15/19 00:29:49                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-22313-SLM
Susan Kicska                                                                                               Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Sep 12, 2019
                                      Form ID: finmgtc                   Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 14, 2019.
db             +Susan Kicska,   65 Bay Street,   Apt. 4204,   Jersey City, NJ 07302-1663

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Sep 12 2019 23:36:40     U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Sep 12 2019 23:36:37     United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,  One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
                                                                                             TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 14, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 12, 2019 at the address(es) listed below:
              Douglas J. McDonough    on behalf of Creditor   PennyMac Corp. DMcDonough@flwlaw.com
              Jill Manzo     on behalf of Creditor   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
               bankruptcy@feinsuch.com
              John Sywilok     sywilokattorney@sywilok.com, nj26@ecfcbis.com
              John P. Fazzio    on behalf of Debtor Susan Kicska jfazzio@fazziolaw.com,
              U.S. Trustee    USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 5
